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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Case No. 1:21-cr-605 (RC)
                                               :
ISAAC WESTBURY,                                :
AARON JAMES, and                               :
ROBERT WESTBURY,                               :
                                               :
                          Defendant.           :

                     UNITED STATES’ RESPONSE TO DEFENDANT’S
                       “EMERGENCY NOTICE” TO THE COURT

       On April 2, 2023, defendants Isaac Westbury, Aaron James, and Robert Westbury

submitted an “emergency notice” to advise the Court that the United States was considering

presenting to the grand jury additional criminal charges related to their conduct at the United States

Capitol Building and its grounds on January 6, 2021. Counsel for the government had previously

made similar representations to the Court on at least three occasions: (1) on July 26, 2022, see ECF

No. 64 at n.1 (“The Government reserves the right to seek a superseding indictment to add

additional violations of 18 U.S.C. §§ 231(a) and 111(a)(1) & (b)(1)(A) that have been discovered

during its investigation”); (2) at a January 26, 2023 status conference, see generally ECF No. 85

at 2; and (3) at a March 24, 2023 status conference. Counsel for the government stated the same

in conversations and correspondence with defense counsel, including through an email on March

20, 2023. See id. at 1.

       It is well-settled that a prosecutorial decision to increase charges after a defendant has

rejected a plea agreement does not violate the Due Process clause. See United States v. Goodwin,

457 U.S. 368, 382-83 (1982) (“the mere fact that a defendant refuses to plead guilty and forces the

government to prove its case is insufficient to warrant a presumption that subsequent changes in

the charging decision are unjustified”); Bordenkircher v. Hayes, 434 U.S. 357, 363 (1978) (stating

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that prosecutors enjoy wide discretion in bringing charges against a defendant, and that in the “give

and take” of plea bargaining, there is no element of punishment or retaliation as long as the

defendant is free to accept or reject the prosecutor’s offer); United States v. Meyer, 810 F.2d 1242,

1246 (D.C. Cir. 1987) (“[P]roof of a prosecutorial decision to increase charges after a defendant

has exercised a legal right does not alone give rise to a presumption [of prosecutorial

vindictiveness] in the pretrial context.”).

       Indeed, other sessions of this Court recently have denied motions to dismiss based on

nearly identical claims of wrongdoing related to superseding indictments issued by the Grand Jury

after defendants rejected offers to plead guilty to crimes they allegedly committed at the Capitol

on January 6, 2021. See United States v. Alberts, No. 1:21-cr-26 (CRC), ECF No. 77 at 14-15

(D.D.C. Nov. 23, 2022); United States v. Thomas, No. 1:21-cr-552 (DLF), ECF Entries 3/20/2023

and 3/21/2023 (D.D.C.). Both cases involve individuals represented by Defendants’ counsel, John

Pierce, Esq., who unsuccessfully sought dismissal of superseding indictments that included

increased charges after those defendants rejected government plea offers.

       Accordingly, the government has engaged in no “treachery, bad faith and perfidy”1

requiring the Court’s notice.

                                              Respectfully submitted,

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                                              UNITED STATES ATTORNEY
                                              D.C. Bar No. 481052

                                              /s/ Jordan A. Konig
                                              JORDAN A. KONIG
                                              Supervisory Trial Attorney,


1
 The D.C. Bar’s Voluntary Standards for Civility in Professional Conduct, included within this
Court’s Local Rules, include as a general principle a prohibition on “making unfounded
accusations of impropriety or making ad hominem attacks on counsel, and, absent good cause, …
attribut[ing] bad motives or improper conduct to other counsel.”
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